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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :           7/1/2019
UNITED STATES OF AMERICA,                                     :
                                              Plaintiff,      :
                                                              :   19 Cr. 366 (LGS)
                           -against-                          :
                                                              :        ORDER
STEPHEN M. CALK,                                              :
                                              Defendant. :
------------------------------------------------------------- X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Defendant was ordered to file a promotion letter for any motions he intends

to file by June 21, 2019, per the Court’s May 29, 2019, Order (Dkt. No. 11). Defendant has not

filed any such letters and it is therefore understood that Defendant does not intend to file any

motions.

        ORDERED that the pre-motion conference scheduled to be held on July 11, 2019 is

cancelled.

        ORDERED that the Government shall apply for any further extensions under the Speedy

Trial Act, if possible, with Defendant’s consent.


Dated: July 1, 2019
       New York, New York
